
42 Cal.2d 877 (1954)
THE PEOPLE, Appellant,
v.
CALIFORNIA CENTRAL AIRLINES (a Corporation), Respondent.
L. A. No. 22880. 
Supreme Court of California. In Bank.  
Apr. 2, 1954.
 Everett C. McKeage and J. Thomason Phelps for Appellant.
 John W. Preston, Jr., for Respondent.
 Memorandum
 THE COURT.
 This appeal is from a judgment of dismissal after a demurrer to the complaint had been sustained without leave to amend. The complaint presents the same issues as those involved in the case of People v. Western Air Lines, Inc., a corporation, L. A. No. 22881, ante, p. 621 [268 P.2d 723], this day decided. Any difference in factual background in that this company is not federally certificated, that it operates entirely intrastate, and that it did not petition for review of the commission's decision and order of April 24, 1951, does not affect the result.
 The judgment is reversed.
 SCHAUER, J.
 For the reasons and upon the grounds stated in my dissenting opinion in People v. Western Air Lines, Inc., L. A. No. 22881, this day filed (ante, p. 621 [268 P.2d 723], I would affirm the judgment.
 Edmonds, J., concurred.
